               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                   CIVIL CASE NO. 3:12-cv-00539-MR
             [Criminal Case No. 3:08-cr-00259-RJC-DCK-1]


LORETTA BLAKENEY-HERRON,                        )
                                                )
                           Petitioner,          )
                                                )
             vs.                                )      MEMORANDUM OF
                                                )      DECISION AND ORDER
UNITED STATES OF AMERICA,                       )
                                                )
     Respondent.                                )
_____________________________                   )

      THIS MATTER is before the Court on Petitioner’s petition for a Writ of

Audita Querela, filed pursuant to 28 U.S.C. § 1651 [Doc. 1].1

                             PROCEDURAL HISTORY

      On May 22, 2009, Petitioner pled guilty to conspiracy to commit wire

fraud, in violation of 18 U.S.C. §§ 1343 and 1349, (Count 1), and

aggravated identity theft and aiding and abetting the same, in violation of

18 U.S.C. §§ 1028A and 2, (Count 11). [Criminal Case No. 3:08-cr-00259,

Doc. 113: Plea Agreement; Doc. 120: Acceptance and Entry of Guilty Plea;

1
  Petitioner has styled the petition as one for writ of audita querela. She alleges in the
body of the petition that this Court also has jurisdiction under 28 U.S.C. § 2255. [Doc. 1
at 3]. If this Court were to construe the petition as one arising under Section 2255, it
would be successive because Petitioner has previously filed another Section 2255
petition pending in this Court, which Petition has been denied. [Civil Case No.
3:11cv127, W.D.N.C.].


    Case 3:08-cr-00259-RJC-DCK        Document 324      Filed 09/23/13    Page 1 of 7
Doc. 246: Judgment]. The plea agreement set forth the maximum penalty

Petitioner faced for each charge. [Id., Doc. 113 at ¶ 4]. As part of the

agreement, Petitioner also agreed to waive all rights to contest the

conviction or sentence in an appeal or collateral attack, except for claims of

ineffective assistance of counsel or prosecutorial misconduct. [Id. at ¶ 21].

      Before Petitioner’s sentencing hearing, the probation officer prepared

a presentence investigation report (“PSR”). With a total offense level of 28

and a criminal history category of VI, Petitioner faced an advisory guideline

range of 140 to 175 months, plus two years for Count 11 to run

consecutively. [Id., Doc. 218 at ¶ 102: PSR]. At sentencing on April 6,

2010, the Court accepted the PSR without objection, and found the

Guideline Range to be as set out therein. [Id., Doc. 246: Judgment]. On

April 6, 2010, after granting a motion by the Government for downward

departure based on substantial assistance, the Court sentenced Petitioner

to 125 months on Count 1, plus 24 months on Count 11 to run

consecutively, totaling 149 months of imprisonment. [Id.]

      Petitioner’s instant petition is dated June 13, 2012, but it was not

stamp-filed until August 20, 2012. [Doc. 1 at 5]. Petitioner contends that

she is entitled to relief under United States v. Simmons, 649 F.3d 237 (4th

Cir. 2011) (en banc), because her sentence was wrongly enhanced


                                      2

   Case 3:08-cr-00259-RJC-DCK    Document 324    Filed 09/23/13   Page 2 of 7
pursuant to 21 U.S.C. § 851(a)(1) based on prior convictions that no longer

qualify as convictions under Simmons. [Id. at 3]. On February 22, 2013,

following a review of Petitioner’s Simmons claim, the Federal Defender of

Western North Carolina filed a motion to withdraw as counsel for Petitioner,

which motion this Court granted on February 27, 2013. [Doc. 4].

                         STANDARD OF REVIEW

      Rule 4(b) of the Rules Governing Section 2255 Proceedings provides

that courts are to promptly examine motions to vacate, along with “any

attached exhibits and the record of prior proceedings . . .” in order to

determine whether the petitioner is entitled to any relief on the claims set

forth therein. After examining the record in this matter, the Court finds that

the motion to vacate can be resolved without an evidentiary hearing based

on the record and governing case law. See Raines v. United States, 423

F.2d 526, 529 (4th Cir. 1970).

                                 DISCUSSION

      Petitioner bases this petition on the Fourth Circuit’s en banc decision

in United States v. Simmons, 649 F.3d 237 (4th Cir. 2011), contending that

her sentence was enhanced based on prior state court convictions that are

no longer considered predicate felonies under Simmons. In Simmons, the

Fourth Circuit held that in order for a prior felony conviction to serve as a


                                      3

   Case 3:08-cr-00259-RJC-DCK     Document 324   Filed 09/23/13   Page 3 of 7
predicate offense (for either a crime of violence or a controlled substance

offense), the individual defendant must have been convicted of an offense

for which that defendant could be sentenced to a term exceeding one year.

Simmons, 649 F.3d at 243 (emphasis added). In reaching this holding, the

Simmons Court expressly overruled United States v. Harp, 406 F.3d 242

(4th Cir. 2005), which had held that in determining “whether a conviction is

for a crime punishable by a prison term exceeding one year [under North

Carolina law] we consider the maximum aggravated sentence that could be

imposed for that crime upon a defendant with the worst possible criminal

history.” Id. (quoting Harp, 406 F.3d at 246) (emphasis omitted).

     Petitioner's reliance on Simmons is unavailing because Simmons

simply has no bearing on Petitioner’s case. Simmons held that “in deciding

whether to enhance federal sentences based on prior North Carolina

convictions, [a court looks] not to the maximum sentence that North

Carolina courts could have imposed for a hypothetical defendant who was

guilty of an aggravated offense or had a prior criminal record, but rather to

the maximum sentence that could have been imposed on a person with the

defendant's actual level of aggravation and criminal history.” United States

v. Powell, 691 F.3d 554, 556 (4th Cir. 2012). Except to the extent her prior

offenses affected her criminal history score, an issue which is entirely


                                     4

   Case 3:08-cr-00259-RJC-DCK   Document 324    Filed 09/23/13   Page 4 of 7
distinct from the statutory and guidelines “enhancements” potentially

implicated by Simmons, Petitioner was not sentenced on the basis of any

prior predicate state court conviction.     Because the rule announced in

Simmons has no bearing upon the calculation of Petitioner's criminal

history category under the Sentencing Guidelines, it is inapplicable.

      The most puzzling part of Petitioner’s argument is that she contends

that Simmons serves to negate the Government’s Notice filed pursuant to

21 U.S.C. §851 which she contends was used to enhance her sentence.

The Government, however, never filed an 851 Notice in Petitioner’s case.

Petitioner was charged with wire fraud and aggravated identity theft, not

with a drug crime. The record simply belies Petitioner’s argument.

      The Court also finds that, even if Simmons were applicable to

Petitioner, Petitioner could not obtain relief through a petition for writ of

audita querela. It is well settled that a petition may not obtain relief through

a writ of audita querela when other avenues of relief are available, such as

a motion to vacate under 28 U.S.C. § 2255. United States v. Torres, 282

F.3d 1241, 1245 (10th Cir. 2002).       The Court notes that Petitioner has

previously filed a Section 2255 petition in this Court which was denied, and

Petitioner may not use the writ of audita querela to avoid the statutory rules

on successive petitions. See Coleman v. United States, No. 3:07cv346-3-


                                       5

   Case 3:08-cr-00259-RJC-DCK     Document 324    Filed 09/23/13   Page 5 of 7
MU, 2007 WL 4303717, at *2 (W.D.N.C. Dec. 10, 2007) (“The fact that §

2255 relief is now unavailable to Petitioner because of the Antiterrorism

and Effective Death Penalty Act’s limitation of the right to file a second or

successive petition, does not make § 2255 unavailable to him for purposes

of being permitted to file a writ of audita querela.”), aff’d, 274 F. App’x 340

(4th Cir. 2008).

      For these reasons, Petitioner’s Petition for Writ of Audita Querela

must be dismissed.

      The Court finds that Petitioner has not made a substantial showing of

a denial of a constitutional right. See generally 28 U.S.C. § 2253(c)(2); see

also Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to satisfy §

2253(c), a “petitioner must demonstrate that reasonable jurists would find

the district court’s assessment of the constitutional claims debatable or

wrong”) (citing Slack v. McDaniel, 529 U.S. 473 (2000). Petitioner has

failed to demonstrate both that this Court’s dispositive procedural rulings

are debatable, and that the Motion to Vacate states a debatable claim of

the denial of a constitutional right. Slack v. McDaniel, 529 U.S. 473, 484

(2000). As a result, the Court declines to issue a certificate of appealability.

See Rule 11(a), Rules Governing Section 2255 Proceedings for the United

States District Courts, 28 U.S.C. § 2255.


                                       6

   Case 3:08-cr-00259-RJC-DCK     Document 324    Filed 09/23/13   Page 6 of 7
                                   ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s petition for a Writ of

Audita Querela pursuant to 28 U.S.C. § 1651 [Doc. 1] is DENIED and

DISMISSED WITH PREJUDICE.

      IT IS FURTHER ORDERED that the Court declines to issue a

certificate of appealability.

      IT IS SO ORDERED.         Signed: September 21, 2013




                                          7

   Case 3:08-cr-00259-RJC-DCK     Document 324               Filed 09/23/13   Page 7 of 7
